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 November 23, 2020


BY CM/ECF
The Honorable Richard G. Andrews
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Wilmington, DE 19801

   Re:     Sprint Communications Company, L.P. v. Charter Communications, Inc., et al.,
           C.A. No. 17-1734-RGA

Dear Judge Andrews:

       I write in response to the Court’s November 20, 2020 Oral Order (D.I. 549) concerning the
November 30, 2020 oral argument. Charter identifies the following issues in priority order that it
requests to argue on November 30:

       1. Charter’s Motion for Summary Judgment of Non-Infringement: D.I. 468 at pp. 2-11;
          D.I. 497 at pp. 1-13; and D.I. 522 at pp. 1-7.

       2. Charter’s Motion for Summary Judgment of No Lost Profits: D.I. 468 at pp. 12-21; D.I.
          497 at pp. 15-23; and D.I. 522 at pp. 7-12.

       3. Charter’s Daubert Motion regarding Dr. Mangum’s Reliance on Prior Verdicts and
          Non-Comparable Litigation Materials: D.I. 468 at pp. 25-31; D.I. 497 at 27-32; D.I.
          522 at pp. 14-17.

       4. Charter’s Daubert Motion regarding Dr. Mangum’s Assignment of All Alleged VoIP
          Cost Savings to Sprint as a Royalty: D.I. 468 at pp. 25-26, 33-34; D.I. 497 at pp. 36-
          38; and D.I. 522 at pp. 18-19.

       If Your Honor has any questions concerning the foregoing, counsel remains available at
the Court’s convenience.

                                                     Respectfully,

                                                     /s/ Kelly E. Farnan

                                                     Kelly E. Farnan (#4395)
cc: Counsel of Record (via CM/ECF)
